          Case 3:22-cv-00080-JBA Document 24 Filed 01/10/23 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT


 FRANCA CAOUETTE,

                        Plaintiff,

                v.                                          CASE NO. 3:22-cv-00080

 CENLAR FSB,

                        Defendant.



            STIPULATION OF DISMISSAL WITH PREJUDICE (FRCP 41[a])

       Plaintiff, Franca Caouette, and Defendant, Cenlar FSB, hereby stipulate under Federal

Rule of Civil Procedure 41(a)(1)(A)(ii) that this action be dismissed with prejudice as to all

claims and causes of action between Plaintiff and Cenlar FSB, with each party bearing that

party’s own attorneys’ fees and costs.


Stradley Ronon Stevens & Young, LLP                   Jerome N. Frank Legal Services
                                                      Organization
Attorneys for Cenlar FS                               Attorneys for Franca

By:    s/Lijue T. Philip                              By:      /Jeffrey Gentes/
                                                              _____________________
       Lijue T. Philip, Esq. (ct30987)                        Jeffrey Gentes, Esq. (ct28561)
       100 Park Avenue, Suite 2000                            P.O. Box 209090
       New York, NY 10017                                     New Haven, CT 06520-9090
       (212) 404-0625                                         (203) 432-4800

Dated: December 23, 2022                                     11/26/2022
                                                      Dated: __________________
